Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 1 of 17

AO 91 (Rev-"I1/11) Criminal Complaint

 

a UNITED STATES DISTRICT COURT * | |
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7 Northern District of California Orr ~4

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United States of America NER | MG U.S. DIST PICT ¢
Vv. WIE DISTRICT © CALIFORY?
Juan Posada, Case No. 2 19 71449

 

Defendant(s)

 

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of

December 17, 2017

in the county of

 

Northern District of California

Code Section

42 U.S.C. § 1320a-7b(b)
Statute."

This criminal complaint is based on these facts:

Please see attached affidavit.

@ Continued on the attached sheet.

Approved as to form:

WILLIAM FRENTZEN
Assistant United States Attorney

 

Sworn to before me and signed in my presence.

Date: 3S (

City and state: San Francisco, California

San Francisco in the

 

, the defendant(s) violated:

Offense Description

Criminal penalties for acts involving Federal health care "Anti-Kickback

 

G Complaingfft’s signature
ette Spring\ Special Agent - FBI

 

Printed name and title

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LOY Z

 

7 Judge’s signature

Hon. Joseph C. Spero, U.S. Chief Magistrate Judge

 

Printed name and title

| =a May
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 2 of 17

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Janette Spring, Special Agent with the Federal Bureau of Investigation (“FBI”) being first duly
sworn, hereby depose and state as follows:
I. INTRODUCTION

A. SYNOPSIS

1. I submit this affidavit in support of a criminal Complaint for Dr. Juan POSADA
(“POSADA”).
2. There is probable cause to believe POSADA engaged in a scheme to defraud Medicare

by receiving cash kickback payments in exchange for the referral of home health and/or hospice patients
in violation of 42 U.S.C. §1320a-7b(b), the anti-kickback statute.

3. As part of this investigation, the Agents have obtained information from the cooperation
of an FBI confidential witness (“CW-1”)! and evidence obtained by an FBI undercover employee
(“UCE”):

4, CW-1 introduced POSADA to UCE as an individual who was willing to accept kickback
payments in exchange for the referral of patients.

5. During the course of the investigation, CW-1 held several in-person audio and video
recorded conversations with POSADA, in 2017 and 2018, in which POSADA received a kickback

payment in the form of cash in exchange for the referral of patients for home health or hospice services.

 

' CW-1 has provided information and services to the FBI over approximately two years and has received no
monetary compensation or other consideration from the FBI in exchange for the information and services. However,
CW-1 was employed by a home health care agency (“HHA Alpha”), which served as a cooperating entity
supporting the FBI’s undercover operation. As a result of the undercover operation, patient numbers and/or revenue
to CW-1 and CW-1’s HHA may have increased. These potential increases to CW-1’s HHA may have provided
benefit to CW-1 by improving his/her standing with the employing HHA. A criminal background check of CW-1
revealed convictions for embezzlement, grand theft, and an arrest for false claim to citizenship. CW-1 is an
undocumented immigrant who entered the United States illegally and by presenting false identifying documents to a
CBP officer. The CW-Ilater falsely denied having possessed false identifying documents when interviewed by
immigration officers. Although CW-1 is a removable alien, removal has been deferred under the Convention
Against Torture. The CW-1 may have an incentive to curry favor with federal law enforcement because of his
immigration status. After the conclusion of this undercover operation, FBI Agents became aware that during the
undercover operation but after HHA Alpha was no longer accepting patient referrals from targets of the
investigation, CW-1 was believed to have tried to use his/her role as a source to threaten an individual — with whom
he/she had a personal dispute — with a law enforcement investigation into the practices of this individual. To my
knowledge, those threats were never carried out. CW-1 is not currently the subject of any pending criminal charges.
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 3 of 17

B. BACKGROUND OF LEGAL FRAMEWORK AND INVESTIGATION

6. Starting in the 1970s, Congress created, amended, and strengthened the “Anti-Kickback
Act”, currently United State Code, Title 42, Section 1320a-7b(b). The relevant language of the statute is
listed below. In essence, the law criminalizes influencing referrals for federally funded health care
through payments. The legislative history revealed Congress was deeply concerned the normalization of
kickbacks in federally funded health care programs would lead to fraud and an undermining of the quality
of patient services since “operators become more concerned with rebates than with care. 2” FBI Agents
began looking into kickbacks in the San Francisco Bay Area, specifically in the fields of home health and
hospice. Their investigation arose from concerns of false billing, referrals without patient care in mind,
that health care providers would have a willingness to expose their patients to unnecessary treatments and
that certain home health agencies (“HHAs”) would have a willingness to bill for, but not provide,
necessary services. The preliminary investigation into kickbacks occurring in the Bay Area in the fields of
home health and hospice revealed that the above concerns were indeed occurring. Some of the most
egregious examples uncovered by the investigation included doctors who referred patients to hospice care
in exchange for kickbacks while demanding a “longevity” bonus — meaning the doctor would financially
benefit the longer a patient remained on hospice. Since hospice is generally meant for palliative care
without curative intent, this system could encourage doctors to abandon curative options earlier with
potentially life threatening outcomes.’

7. An undercover operation was selected as the means of investigating kickbacks. From
training and experience, the investigators understood that health care providers and HHAs shrouded their
activities in secrecy. Typically, health care providers were given kickbacks in the form of cash payments
made in closed door meetings between themselves and HHA representatives. Some used bogus medical

directorship/consultant contracts to disguise kickbacks as payments for seemingly legitimate, but actually

 

2 «Kickbacks Among Medicaid Providers”, Senate Report 95-320, 1977.

3 In fact, throughout the course of the investigation, four of the targets, while negotiating kickback payment
amounts, discussed similar “longevity” bonuses. UCE agreed to these bonuses or entertained further discussion to
potentially identify any such referrals by proactively identifying at-risk patients. During the course of the
investigation, no such longevity bonus referrals were made to the UCO.
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 4 of 17

non-existent, services. Given the expected closed nature of the transactions and the relatively traceless
nature of cash payments, traditional documentary and other overt investigative techniques were deemed to
be ineffective. An undercover operation (“UCO”) was considered as the most efficient and most
successful means to gather direct evidence of the payments and the corrupt intent of the kickback
payments

8. Around July 2016, two employees of a known Bay Area home health agency (“HHA
Alpha”) made a complaint to Health and Human Services Office of Inspector General (“HHS-OIG”)
regarding payments of kickbacks to doctors by other HHAs in the Bay Area. One of the two agreed to
serve as a cooperating witness (“CW-1”). CW-1 was paired with an undercover FBI agent (“UCE”),
based in San Francisco, who would portray himself/herself as someone representing investors, intent on
acquiring HHA Alpha and seeking to expand HHA Alpha’s patient population through illegal kickbacks.
UCE often communicated with targets in furtherance of the UCO while in San Francisco. The UCO
sought to investigate predicated targets and to use predicated targets to refer UCE to other violators who
the targets believed to be engaged in similar conduct.

9. In designing the UCO, investigators learned health care providers were weary of potential
legal risks that caused them to be unwilling to accept kickbacks from an unknown undercover agent
without an introduction from a known member of the industry. Further, the nature and size of the
kickbacks were dependent on the types of HHA services required. For example, certain types of insurance
and services were reimbursed at a higher rate, which in turn would lead to higher kickbacks. Many health
care providers were also quite concerned with patient satisfaction, partially to avoid a disgruntled patient
from questioning the corrupt HHA referral. Therefore, the ability to provide specific details about
services, accepted insurance plans, and patient satisfaction was critical to both gaining the initial
introductions and to allowing the UCO to expand. The involvement of a vetted HHA would facilitate
entry of the UCO and allow kickback referrals to be diverted away from predicated HHA companies.
Further, the care provided by the vetted HHA could be monitored and reviewed.

10. In keeping with those goals, HHA Alpha effectively served as a cooperating entity

through its management and its participation in the UCO. The FBI investigation was partly based upon
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 5 of 17

analysis of so-called outlier data — data showing abnormal and potentially illegal conduct — among HHAs
and doctors as well as through interviews. Based on examination of the data and interviews, HHA Alpha
did not fall into the profile of a likely kickback offender. Checks of FBI databases did not reveal HHA
Alpha as a prior or current subject of any investigations. Additionally, the FBI consulted with HHS-OIG
and determined HHA Alpha was not a prior or current subject of any investigations. From the founding of
HHA Alpha in 2009 until the initiation of the UCO, Medicare received two complaints’, which were later
deemed to be unsubstantiated. Additionally, HHA Alpha’s owner was aware that CW-1 would be
cooperating with an investigation and the patient paperwork and referrals to HHA Alpha during the UCO
were required to be brought to the attention of the investigating agency. Patients referred to HHA Alpha
by physicians and others receiving payment from FBI through the UCO, (1) were contacted by an
employee of HHA Alpha to obtain their consent for treatment by HHA Alpha, (2) as a result of this
consent and intake process, some patients ultimately did not receive treatment from HHA Alpha because
they declined treatment, preferred an HHA of their own choosing, or medical evaluation determined
treatment was inappropriate, (3) HHA Alpha was made aware of patients that were referred through the
course of the UCO, and (4) FBI conducted interviews of all available patients referred to HHA Alpha and
there were no serious allegations of failure in patient care. 5 During the course of the UCO, there was
one complaint regarding patient care provided by HHA Alpha made by a recently hired, and then fired
employee, but an investigation by the California Department of Public Health did not result in any
negative finding against HHA Alpha. No other complaints about HHA Alpha were reported to Medicare
through the duration of the UCO. During the course of the UCO, a total of 27 subjects were paid

kickbacks and referred patients to HHA Alpha. At no time during their meetings with CW-1 and/or UCE

 

4 An anonymous complaint filed in 2016 alleged a durable medical equipment kickback scheme, which was
closed due to insufficient information. In 2015, Medicare closed a patient allegation of false billing by HHA Alpha
after a review of documents provided by HHA Alpha justified the billing.

5 Only three patients out of 129 interviewed by FBI complained and the complaints consisted of (1) early
discontinuation of treatment, (2) a nurse should have shown up more often, and (3) physical therapy should have
been longer. Of all patients referred to HHA Alpha by targets of the investigation during the UCO, the FBI was
unable to interview 31 patients due to the patients passing away in hospice care or because the patients could not be
located — generally international patients. As to those patients, no complaints regarding patient care were ever filed
against HHA Alpha.
Case 3:20-cr-00420-RS Document 1 Filed 09/04/19 Page 6 of 17

did the subjects express any concerns regarding the treatment of their patients by HHA Alpha nor notify
that any patient complaints had been received. Further, none of the subjects indicated they were aware of
any illicit conduct by HHA Alpha prior to or during the UCO.

C. AGENT QUALIFICATIONS

11. lama Special Agent of the FBI and have been so employed for approximately three
years. | am currently assigned to the Complex Financial Crime Squad of FBI’s San Francisco Field
Division. As part of my assigned duties, I investigate possible violations of federal criminal law,
specifically investigations involving white collar crime. I have received specialized training in health care
fraud matters including, but not limited to, Anti-Kickback, Mail Fraud, Wire Fraud, and False Claims. |
have participated in the execution of various arrests and search warrants in which business and personal
documents, bank records, computers, and other evidence of fraud and other crimes have been seized.

12. In the course of this investigation and my investigation of other health care fraud
schemes, I have (1) interviewed numerous persons; (2) reviewed numerous records and pertinent data; (3)
read interviews and other reports written by other law enforcement officers; and (4) become familiar with
the manner and means by which health care fraud schemes are operated including violations of 42 U.S.C.
Section 1320a-7b and 18 U.S.C. Section 371.

13. This affidavit is intended to show merely that there is sufficient probable cause for the
requested Complaint and arrest warrant and does not set forth all of my knowledge about this matter.
Unless specifically indicated otherwise, all conversations and statements described in this affidavit are
related in substance and in part only. Where excerpts of transcripts of audio recorded conversations are
presented, they represent my best effort at this time to transcribe such recordings and IJ believe them to be
accurate in substance.

D. COMPLAINANT

14. Dr. Juan POSADA, is a 58-year-old licensed physician who resides in San Jose,
CA and is the owner and director of a private family practice. During the course of the
investigation, POSADA accepted $1,200 from CW-1 and UCE in exchange for agreeing to send
patient referrals to HHA Alpha.
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 7 of 17

E. STATUTE VIOLATED
15. Title 42, United States Code, Section 1320a-7b(b)(1)(A), in relevant part, makes it a
crime for any person to knowingly and willfully solicit or receive any remuneration (including any
kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in kind to any person to
induce such person to refer an individual to a person for the furnishing or arranging for the furnishing of
any item or service for which payment may be made in whole or in part under a Federal health care
program.
II. PROBABLE CAUSE
A. POSADA ACCEPTS KICKBACK PAYMENTS IN EXCHANGE FOR THE REFERRAL
OF MEDICARE PATIENTS.
16. On February 1, 2017, CW-1 recorded a meeting with POSADA at POSADA’s office in
San Jose, CA. The purpose of the meeting was to discuss a kickback arrangement in which CW-1 would
pay POSADA for patient referrals to HHA Alpha. During the meeting, POSADA asked how CW-1 would
reimburse him for ten patient referrals. POSADA used a similar offer of $5,000 from Amity Home Health
Care, Inc. (““AMITY”) as an example of how much could be expected in exchange for the patient

referrals. Below is an excerpt of the aforementioned exchange:

 

 

 

 

 

Speaker . Statement Additional Explanation

POSADA: So if I have five patients a month or 10 patients
a month, is that good for you?

CW-1: If it is doable I can, if not we can work it out. I CW-1 is intimating it is known
know Amity is in the business. We just need a AMITY pays kickbacks and CW-
number to start with. How do we get into a 1 is asking POSADA what
system where we can work together? kickback amount is expected in

return for the 10 patients.

POSADA: How will you reimburse me? Say, I send 10
patients?

CW-I: . We don’t deal that way, but we do have like CW-1 is explaining that despite
medical directors and stuff like that so we...if the fact that HHA Alpha does not
they are referred to us and we have different normally pay kickbacks, CW-1
terms with them but I know this market is was willing to enter into a
totally different here. So, whatever Amity is kickback relationship with
doing, let’s see if we can compete with that. POSADA in order to be

 

 

 

competitive.

 

 
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 8 of 17

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

POSADA: It?s okay, you can be open, you know. Just tell POSADA is encouraging CW-1
me how you do with the other business, other to speak openly about the
physicians. scheme.

CW-1: I know how Amity does. Amity does...pay
either cash or...or they pay check, or give gifts.

POSADA: So you guys don’t do that right? Or you do that? | POSADA is trying to gauge
whether or not CW-1 is willing to
pay him a kickback

POSADA: Say with Amity, they offer me, let’s say like
five thousand dollars if I send 10 patients on a
regular basis, five thousand dollars.

CW-1: Per month?

POSADA: Yeah.

CW-1: But there’s no, is it like they give you a number
of 5 patients or 10 patients?

POSADA: No, they just say whatever you have.

CW-1: And they’re just paying you cash?
POSADA: Yeah.

 

17. During the same meeting, POSADA explained he was hesitant to engage in the kickback

scheme, acknowledging it was illegal. Despite this, POSADA seemed open to an arrangement with CW-

1, suggesting CW-1 to think of a strategy to move forward with their arrangement. When CW-1 offered

POSADA a similar kickback arrangement as AMITY, POSADA explained he stopped working with

AMITY because he did not have many patients in need of home health services. POSADA however

offered to sign paperwork authorizing services for other patients referred to HHA Alpha. POSADA was

likely offering to sign paperwork authorizing home health services for patients that were not under his

care. This would allow for HHA Alpha to bill for services without the scrutiny of the patient’s actual

doctor. Below is an excerpt of the aforementioned exchange:

 

Speaker

Statement

Additional. Explanation

 

 

POSADA:

 

But I know it’s illegal to get money back right?
So that’s illegal right? So I-I don’t know, think
about a stra- a strategy and let me know.

 

 

 

 
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 9 of 17

 

If Amity offered you five, you said no, do we
have to go, if we came back with the same deal
would you say no or do we have to go higher?
Because if I go back and then come back again,

CW-1 offers POSADA the same
arrangement as AMITY, $5,000
per month.

 

 

 

 

 

 

 

 

CW-l: I don’t want to do the back and forth thing, you
know what I mean? That I would — I don’t want
you to tell me yes and you say five now it’s
going to be more than that.
Um, the reality is I don’t do anything because I POSADA denies accepting
don’t have a lot of patients, uh, requiring in kickbacks from other companies
POSADA: home health, um so I don’t want to do it because he did not have patients
again,um... to provide for services.
CW-1: No worries, just-just think about it.
POSADA: I'll sign for you for for free.
CW-1: Oh of course-of course.
POSADA: Send me patients and Ill sign the paperwork.

 

18. After their meeting, POSADA contacted CW-1 on his cellular telephone and provided the

name and telephone number of a Medicare patient he was referring to HHA Alpha. During their

conversation, POSADA indicated he would refer additional patients to HHA Alpha. Below is an excerpt

of the aforementioned exchange:

 

 

 

 

 

 

 

 

 

 

Speaker Statement Additional Explanation
POSADA: I have a patient for you, for hospice
CW-1: Beautiful we can take that, yes
POSADA: Let me give you a name “Patient 1°
POSADA: And I will start sending you patients from today
okay?
CW-1: You got it

 

19, On February 10, 2017, CW-1 recorded a conversation with SANTOS, during which

SANTOS describes her failed attempt to pay POSADA a $5,000 cash kickback for patient referrals.

Below is an excerpt of the aforementioned exchange:

 

 

 

 

Speaker Statement Additional Explanation
CW-1: Posada is all about...
: : 5
SANTOS: Per patient, what will you give me? I even offered

 

it.

 

 

 

6 Throughout this affidavit, I have removed patients’ names to protect their privacy, and have referred to
them instead as “Patient 1,” “Patient 2,” etc

 

 

 
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 10 of 17

 

 

 

 

 

 

 

 

 

 

 

 

CW-1: Oh, he took it c’mon.
SANTOS: No!
; He did! I know...I work with him for 3 years I
CW-1:
know exactly.
SANTOS: He did not, J was there I swear to God. We have
an envelope me and Brenda...
CW-1: He’s not exactly lying to me.
SANTOS: No we brought and envelope and showed him
[unintelligible] and he wouldn’t take it I swear.
CW-l1: How much did you pay him?
SANTOS: Five thousand.
CW-1: Cash?
| sof 7 -
SANTOS: Yes! He refused to take it. And recently I sent

him 3 patients.

 

 

20. On August 31, 2017, CW-1 introduced UCE to POSADA during a recorded meeting at

POSADA’s office in San Jose, CA. During their meeting, UCE explained his/her involvement in the

takeover of HHA Alpha. UCE expressed a preference for patient referrals with Medicare benefits as

Medicare offered higher reimbursement rates for services. UCE offered to pay POSADA $1,000 cash for

the first month he could provide patients referrals and then increase the payment to $2,000 the following

month. Below is an excerpt of the aforementioned exchange:

 

Speaker

Statement

Additional Explanation

 

UCE:

So, what we would like to do is, if you’re ok
with it, I don’t know what, but what we would
like to do is a thousand for the first month, two
thousand for the second month.

 

CW-1:

We don’t expect much, maybe two patients,
then three, then four.

 

POSADA:

Home health?

 

CW-1:

Yes and hospice, either way.

 

UCE:

I mean, of course Medicare pays the best, but if
you’re ok, I can start with a thousand now. If
that’s not competitive with what you’re getting
from others, let us know. We want to be
competitive.

 

POSADA:

Uh huh. Let’s uh come back next week. We can
talk next week. Is that ok?

 

CW-1:

That’s fine.

 

POSADA:

 

Ah, let’s see, you can come for lunch, we can
arrange a lunch meeting.

 

 

 

 

 
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 11 of 17

On September 5, 2017, CW-1 and UCE returned to POSADA’s office per POSADA’s request. During

their meeting, CW-1 and UCE explained their involvement in the takeover of HHA Alpha and in doing

so, were willing to pay POSADA kickbacks in exchange for patient referrals. During their exchange,

POSADA offered the example of $600 as an amount per patient paid by other home health and hospice

companies. Below is an excerpt of the aforementioned exchange:

 

Speake

Statement

Additional. Explanation

 

CW-1:

.. It?s very open, you tell me, how you can work it out,
we do it that way. We can work it out. ] know Amity
does it different ways, I know other companies do it
different ways. Ah, we don’t want to low ball or that
kinda stuff too. What numbers are you feeling
comfortable with?

 

POSADA:

What they are paying now are...some companies is
six hundred per patient.

$600 per patient.

 

CW-1:

Ok.

 

UCE:

Well, where we would like to start is, so if you’re
comfortable with it, we think starting up slowly so
it doesn’t look like too many at one time. But if
you, if you feel that it’s not competitive for you, we
can certainly do something upfront, ah something
bigger upfront.

 

POSADA:

No, it’s ok. So, I can give you a patient and then, or you
can, you know, we can meet. This concerns me. If you
know...it’s very...

 

CW-I:

The only thing is, this is what he is try to say, we.
It’s going to take about eight months for the
paperwork, the company, so we want the traditional
growth, real slow. We don’t want like hey,
tomorrow we have twenty patients all of a sudden.
That’s like...

 

POSADA:

Ok, so you want me to send you a few patients in
the beginning?

 

CW-1:

First month we do two, second month we do four,
maybe we keep increasing that way. Show us a steady
growth. In the meantime, if you want to share your
patients with everybody else, please do.

 

POSADA:

Ok, ok.

 

CW-1:

Because when we take over we don’t want to show
our numbers to be higher than the other guys.

 

UCE:

 

We just think it looks better because we think some
of our competitors are a little too aggressive. And |
think it looks odd if all of a sudden ten patients go

 

 

UCE stresses the importance of
being careful and building the
relationship slowly by not
referring too many patients too

 

10

 
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 12 of 17

 

out the door to one place. We’re just trying to be
careful for all of us. But, but again...

quickly as that could draw scrutiny
from law enforcement.

 

 

 

 

 

 

 

 

 

 

POSADA: | But is it ok if you ah, ah... POSADA was confirming the
negotiated price of $600 per
patients was acceptable.

UCE: The 600?

CW-1: Yeah, absolutely.

UCE: So, what I would like to do as basic trust, for two for

this month I can give you twelve hundred right now.
And if we...

POSADA: [Would I have to send you anybody?

CW-1: 'You have sent me hospice patient, we can, if you want

you can take...

UCE: We also do hospice as well.

CW-1: Yeah. Or kinda let me know if that’s the

difference...
POSADA: _ |[ will tell you the patients and then we talk after that. Is

that ok?

 

 

 

 

21. On December 14, 2017, CW-1 and UCE recorded a meeting with POSADA at his

medical office in San Jose, CA. During their meeting, UCE confirmed POSADA was satisfied with

receiving a kickback payment of $600 per patient. POSADA asked if he had sent any patients to HHA

Alpha and CW-1 reminded him of the referral of Patient 1. Below is an excerpt of the aforementioned

 

 

 

 

 

 

 

 

 

 

exchange:
Speaker Statement Additional Explanation

UCE: So that’s the other thing. The last time we were here | UCE is explaining they were willing
there might’ve been a misunderstanding. We'd like to pay POSADA up front for patient
to put down something just to show good faith to referrals.
start.

POSADA: Mmhmm. Mmhmm.

UCE: I think we talked about $600. Is that what you were
happy with?

POSADA: Per patient?

UCE: Yeah.

POSADA: Well, I don’t know. Do I give you any patients
already?

CW-1: The one I had had from you, was hospice, way back. | CW-1 is referring to the referral of

Patient | in February.

POSADA: Okay.

CW-1: After, we talked about it, nothing after that. So what
we decided was, hey, let’s do a good faith. So at least
we are, you know, working relationship. Once you
have one, keep us in mind, do it...

 

 

 

 

1]

 
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 13 of 17

 

POSADA:

that right?

No problems with the government, with nothing like

 

CW-lI:

I don’t want to have any problems.

 

UCE:

goal is to be as careful as possible.

Neither do we. Let me just put it that way. If there’s
anything you are uncomfortable with or anything you
think we should change, please let us know. We,

our

 

POSADA:

you.

Let me tell Patricia that we should send patients to

 

 

 

22.

 

At the conclusion of their meeting, UCE paid POSADA $600 a “good faith” payment to

begin their kickback arrangement. After receiving the kickback payment, POSADA reassured he would

send patient referrals to HHA Alpha. Below is an excerpt of the aforementioned exchange:

 

 

 

 

 

 

 

 

 

 

 

Speaker Statement Additional Explanation

UCE: This is just a good faith $600. UCE paid POSADA a good faith payment as
a way to establish their of trust that POSADA
would later send patient referrals and UCE
pay up front in order to establish their
relationship.

POSADA: That’s fine.

UCE: Thank you, sir.

POSADA: So, yeah, I’Il send you a patient in, uh,

see if we try a respiratory, um...

CWw-] Okay.

UCE: Excellent.

POSADA: Thank you.

 

23. On January 25, 2018, CW-1 and UCE recorded a meeting with POSADA at his office in

San Jose, CA. During the meeting, UCE explained s/he was unaware of the referral of Patient 1 in

February. UCE indicated had s/he known, UCE would have paid POSADA for the referral during their

previous meeting. Below is an excerpt of the aforementioned exchange:

 

 

 

 

 

 

 

Speake Statement Additional Explanation

UCE: Came to check if everything is okay and I, uh, I UCE is referring to the referral of
guess, I didn’t realize that before | met you that Patient 1 in February and UCE’s
you'd already given us some work. failure to acknowledge the referral

during their previous meeting.

CW-1: He gave us a hospice patient, so we said hey...

POSADA:  |Maybe, yeah, maybe I give you a few, yeah.

CW-1: He gave us a hospice patients, yes.

UCE: Yeah. So, I, I just wanted to, I, I, I, thought I was UCE is explaining s/he would have

giving you for the next one, but I realized we, we

 

paid POSADA for the referral of
Patient | [“take care of that’’]
during their prior meeting had s/he

 

 

 

12

 

 
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 14 of 17

 

didn’t even take care of that, so I have, for the next
one here for you, if that’s okay?

known about the referral ahead of
time.

 

 

 

 

 

 

 

POSADA: ’m not sure about that, even if] deserve it right? POSADA was unsure if he should
What do you mean? How much is that? specify how much he should be
paid for the referral of Patient 1.
UCE: $600 for the next patient.
CW-1: So whether you have one...
POSADA: | For, uh, hospice?

 

24, Later in the same meeting, POSADA offered to send hospice patient referrals to HHA

Alpha. UCE asked POSADA if he wanted a different kickback amount for the hospice referrals.

POSADA indicated he was unsure what payment amount he should ask for and asked UCE what other

physicians were receiving. Below is an excerpt of the aforementioned exchange:

 

Speaker

Statement

Additional Explanation

 

UCE:

Okay. Well, uh, we’re, we’re comfortable with that.
Are you comfortable with the same rate for hospice?

 

POSADA:

It don’t know. What is it out there? What is, what is, uh-

 

UCE:

So, um, I mean, I think, we, we’ve generally been
doing a rate of, um, for most physicians, two is
about a thousand, uh, if they’re working and giving
us eight in a month, we give them three thousand.
That’s normally what we’ve been doing, but
depending on, you know, we wanna match what,
you know, what, we don’t believe that every person
gets the same. So, because if you’ve got other
relationships, we want to be competitive. So, we,
you know, if you have, if that’s not competitive, we
will become competitive.

 

CW-1:

We’re talking about the home health aspect now, so if
lyou have something different hospice-

 

 

POSADA:

So you go to which doctors around here? Who are you
going-

 

 

 

25. At the end of the meeting, POSADA agreed to send hospice patient referrals to HHA

Alpha. Below is an excerpt of the aforementioned exchange:

 

 

 

 

 

 

Speaker Statement Additional Explanation
POSADA: So, because I don’t wanna, let’s see I’'Il get
some, if I have hospice, I'll send you a patient.
UCE: Perfect.
CW-1: Okay.
POSADA: Thank you very much.

 

 

 

13

 

 

 
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 15 of 17

B. A CO-CONSPIRATOR PROVIDES INFORMATION THAT POSADA RECEIVED
KICKBACKS FROM OTHER ENTITIES

26. On March 19, 2019, the FBI interviewed a skilled nursing marketer, Rebecca PINA
(“PINA”). Agents learned that in 2005 or 2006, PINA worked as the director of marketing for White
Blossom Care Center (“White Blossom”) in San Jose, CA. White Blossom was a Medicare-certified short
term rehabilitation and skilled nursing home.

27. As part of her duties, PINA created invoices for the facility’s medical directors. PINA
reviewed each invoice with each medical director to ensure the invoice’s accuracy. Instead of
documenting legitimate services provided to White Blossom, in actuality, the invoices documented the
number of patients each medical director had referred to the facility. For example, one hour was the
equivalent of one patient referral. Therefore, the payment amount on the invoice reflected the amount of
money each medical director was receiving in kickbacks for their patient referrals sent to White Blossom.

28. PINA met with POSADA each month to verify how many patients he referred to White
Blossom. On their face, the invoices listed the amount of hours POSADA supposedly spent providing
legitimate services to White Blossom. However, the sole purpose of the invoices were to track the number
of referrals sent by POSADA, and other physicians, and the amount of the kickback payment POSADA

received in exchange for those referrals.

I. PROBABLE CAUSE FOR THE VIOLATION

A. TITLE 42 UNITED STATES CODE, SECTION 1320A-7B(B)(1)(A), THE ANTI-KICK
BACK STATUTE

29. Title 42 United States Code, Section 1320a-7b(b)(1)(A), in relevant part, makes it a crime
to knowingly and willfully solicit or receive any remuneration (including any kickback, bribe, or rebate)
directly or indirectly, overtly or covertly, in cash or in kind to any person to induce such person to refer an
individual to a person for the furnishing or arranging for the furnishing of any service for which payment

may be made in whole or in part under a Federal health care program.

14
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 16 of 17

30. Based on all of the foregoing, probable cause exists to believe that POSADA accepted
kickback payments from UCE that were intended to induce POSADA to send patient referrals to HHA
Alpha for home health and/or hospice services later billed to Medicare.

31. Medicare is a federally funded health care program, and the referral of patients to HHA
Alpha by POSADA for home health or hospice services constitutes a referral, as defined by Title 42
United States Code, Section 1320a-7b(b)(1)(A).

32. Therefore, there is probable cause to believe POSADA’s agreement to send patient
referrals to HHA Alpha in exchange for cash payments from UCE meets the definition of a kickback
payment and violates anti-kickback statute.

IV. CONCLUSION

33. Based on the foregoing, there is probable cause to believe POSADA engaged in a scheme
to receive kickbacks in exchange for patient referrals, in violation of Title 42 U.S.C. § 1320a-7b(b)(1)(A).
V. REQUEST FOR SEALING

34. Since this investigation is ongoing, disclosure of the Complaint, this affidavit, and/or this
application and the attachments thereto will jeopardize the progress of the investigation. Disclosure could
result in the destruction of evidence, intimidation or collusion of witnesses, or the flight of a suspect.

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15
Case 3:20-cr-00420-RS Document1 Filed 09/04/19 Page 17 of 17

Accordingly, I respectfully request the Court issue an order directing this Affidavit and any related

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documents be sealed until the further order of this Court.

Sworn to and subscribed before me

this ad day of September, 2019.

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HON. JOSE C.SPERO
United i ; Chief Magistrate Judge

 

16
